     Case 24-11728-pmm                                         Doc 140                 Filed 09/10/24 Entered 09/10/24 11:48:42                       Desc Main
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Fill in this information to identify the case:

Debtor Name Philadelphia Orthodontics, PC


United States Bankruptcy Court for the: Eastern District of Pennsylvania

                                                                                                                                                □ Check if this is an
Case number: 24-11728-pmm
                                                                                                                                                  amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                                                          12/17

Month:                          July 2024                                                                                  Date report filed:    09/03/2024
                                                                                                                                                 MM/00/YYYY
Line of business: _0;. rt;. ;.h;. ;.o;. d;.;. o;. ;.n.;. ; t.;. ; ics..; ;. ______                                         NAISCcode:            62120

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                                              Joshua Davis
Original signature of responsible party                       .. ~.-=~:-----".=----==:::>:::::::---------
                                                            ~-=.==
Printed name of responsible party                                                          _-;z..v_.._~. ._5_ _ _ _ _ __
                                                           ~--=-o....aJ_~....a-v_c:-._._'\)_\


   -                1. Questionnaire
       Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                                                      Yes       No       NIA
              If you answer No to any of the questions In lines 1-9, attach an explanation and label it Exhibit A.
       1.    Did the business operate during the entire reporting period?                                                                             Ga        □        □
       2.    Do you plan to continue to operate the business next month?                                                                              Iii       □        □
       3.    Have you paid all of your bills on time?                                                                                                 Iii       □        □
       4.    Did you pay your employees on time?                                                                                                      Ga        □        □
       5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                          Ga        □        □
       6.    Have you timely filed your tax returns and paid all of your taxes?                                                                       Ga        □        □
       7.    Have you timely filed all other required government filings?                                                                             Ga        □        □
       8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                          Ga        □        □
       9.    Have you timely paid all of your insurance premiums?                                                                                     Iii       □        □
              If lou answer Yes to anl of the guestlons in lines 10-181 attach an exelanation and label It Exhibit B.
       10. Do you have any bank accounts open other than the DIP accounts?
                                                                                                                                                      □         Iii      □
       11. Have you sold any assets other than inventory?
                                                                                                                                                      □         [ii      □
       12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
                                                                                                                                                      □         tit      □
       13. Did any insurance company cancel your policy?
                                                                                                                                                      □         Iii      □
       14. Did you have any unusual or significant unanticipated expenses?
                                                                                                                                                      □         Iii      □
       15. Have you borrowed money from anyone or has anyone made any payments on your behalf?
                                                                                                                                                      □         Iii      □
       16. Has anyone made an investment in your business?
                                                                                                                                                      □         Iii      □
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Debtor Name   Philadelphia Orthodontics, PC                                             Case number 24-11728-pmm




      17. Have you paid any bills you owed before you filed bankruptcy?                                                   □       Iii   □
      18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                     □       Gi    □

              2. Summary of Cash Activity for All Accounts

      19. Total opening balance of all accounts
                                                                                                                            s 21,058.15
          This amount must equal what you reported as the cash on hand at the end of the month in the previous
          month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

      20. Total cash receipts
          Attach a listing of all cash received for the month and label it Exhibit C. Include all
          cash received even if you have not deposited it at the bank, collections on
          receivables, credit card deposits, cash received from other parties, or loans, gifts, or
          payments made by other parties on your behalf. Do not attach bank statements in
          lieu of Exhibit C.
          Report the total from Exhibit Chere.                                                          $   165,746.69

      21. Total cash disbursements
          Attach a listing of all payments you made in the month and label it Exhibit D. List the
          date paid, payee, purpose, and amount. Include all cash payments, debit card
          transactions, checks issued even if they have not cleared the bank, outstanding
          checks issued before the bankruptcy was filed that were allowed to clear this month,
          and payments made by other parties on your behalf. Do not attach bank statements
          in lieu of Exhibit D.                                                                         - s 137,833.53
          Report the total from Exhibit D here.

      22. Net cash flow
                                                                                                                          + $ 27,913.16
          Subtract line 21 from line 20 and report the result here.
          This amount may be different from what you may have calculated as net profit.

      23. Cash on hand at the end of the month
          Add line 22 + line 19. Report the result here.
           Report this figure as the cash on hand at the beginning of the month on your next operating report.
                                                                                                                          = $ 48,971.31
          This amount may not match your bank account balance because you may have outstanding checks that
          have not cleared the bank or deposits in transit.



  -           3. Unpaid Bills
          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
          have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
          purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

      24. Total payables                                                                                                      $ _ _0_._00_

                (Exhibit E)




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Debtor Name   Philadelphia Orthodontics, PC                                                Case number 24-11728-pmm




  -           4. Money Owed to You
          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
          have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
          Identify who owes you money, how much is owed, and when payment is due. Report the total from
          Exhibit F here.
      25. Total receivables                                                                                              $   234. 775.05
                (Exhibit FJ



  -           5. Employees
      26. What was the number of employees when the case was filed?
                                                                                                                                     13

      27. What is the number of employees as of the date of this monthly report?
                                                                                                                                     13



  •           6. Professional Fees
                                                                                                                         $ _ _ _ __
      28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                         $ _ _ _ __
      29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                         $ _ _ _ __
      30. How much have you paid this month in other professional fees?

      31. How much have you paid in total other professional fees since filing the case?                                 $ _ _ _ __




  •           7. Projections

          Compare your actual cash receipts and disbursements to what you projected in the previous month.
          Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                          Column A                     Column B                     Column C
                                          Projected                    Actual                   = Difference

                                          Copy lines 35-37 from        Copy lines 20-22 of          Subtract Column B
                                          the previous month's         this report.                 from Column A.
                                          report.
                                          $ 165.000.00                 $ 165. 746.69            =   $     -746.69
      32. Cash receipts

      33. Cash disbursements
                                          s 168.557.84                 $ 137,833.53             =   $   30,724.31

      34. Net cash flow                 Is -3,557.84              1-1 $ 27,913.16              I= I$ -31,471.00
      35. Total projected cash receipts for the next month:                                                              $ 170,000.00

      36. Total projected cash disbursements for the next month:                                                        • $ 160,000.00

      37. Total projected net cash flow for the next month:
                                                                                                                        =$     10.000.00




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Debtor Name    Philadelphia Orthodontics, PC                                            Case number 24-11728-pmm




   -           8. Additional Information
       If available, check the box to the left and attach copies of the following documents.

       ~ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

       Iii 39. Bank reconciliation reports for each account.
       Iii 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
       Iii 41. Budget, projection, or forecast reports.
       □   42. Project, job costing, or work-in-progress reports.




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                                         Monthly Operating Report for Small Business Under Chapter 11
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fart2

        Line 19   Total opening balance of all accounts               $21,058.15


        Line 20   Total cash receipts                                  165,746.69 Exhibit C


        Line 21   Total cash disbursements                           (137,833.53) Exhibit D


        Line 22   Net cash flow                                        27,913 .16


        Line 23   Cash on hand at end of the month                    $48,971 .31
8/6/24, 6 :20 P M                                                                                                                                                            about:blank
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                                                                                                                                      Orthodontics

                                                                                                         1020 Bank of America 2306, Period Ending 07/31/2024

                                                                                                                                    RECONCILIATION REPORT

                                                                                                                                       Reconciled on: 08/06/2024

                                                                                                                                 Reconci led by: Jamie Hiwe Yorio

   Any cha nges made to transactions after this date aren't included in this report.

   Summary                                                                                                                                                                                                                                                                                                            USO

   Statement beginning balance .................................................................................................................................................................................................................................................................................. ..18 ,440 .98
   Checks and payments cleared (157l.. ..............................................................................................................................................................................................................................................................-141 ,867.53
   Deposits and other credits cleared (76)............................................................................................................................................... ...................................... ................................................................... 164,681 .88
   Statement ending balance........................................................................................................................................................................... ...................................... .................................................................. 41 ,255 .33

   Register balance as of 07/31 /2024                                                                                                                                                                                                                                                                      41 255.33


   ~~i~~1i~~~:~l:~l~i1:=8~i;~]i1:~~~~. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..4;:~~H~
   Details

   Checks and payments cleared (157)

   DATE                                                           TYPE                                                           REF NO.                                                         PAYEE                                                                                        AMOUNT (USO)
   07/01/2024                                                     Expense                                                                                                                                                                                                                                     -185.75
   07/01 /2024                                                    Expense                                                                                                                                                                                                                                      -611 .81
   07/01 /2024                                                    Expense                                                                                                                       Amazon                                                                                                             -7.00
   07/01 /2024                                                    Expense                                                                                                                       Amazon                                                                                                         -1 18.98
   07/01 /2024                                                    Expense                                                                                                                       Asana                                                                                                         -218.55
   07/01 /2024                                                    Expense                                                                                                                       Align Technology, Inc.                                                                                      -2 ,844.06
   07/01 /2024                                                    Expense                                                                                                                                                                                                                                          -6.90
   07/01 /2024                                                    Expense                                                                                                                       five guys                                                                                                        -42 .64
   07/01 /2024                                                    Expense                                                                                                                       Uber                                                                                                               -9.95
   07/01/2024                                                     Expe nse                                                                                                                      Align Technology, Inc.                                                                                      -2,950 .00
   07/02/2024                                                     Expense                                                                                                                        Indeed                                                                                                        -319.72
   07/02/2024                                                     Check                                                          1019                                                                                                                                                                       -8,339.25
   07/02/2024                                                     Expe nse                                                                                                                      Google                                                                                                         -162 .00
   07/02/2024                                                     Expe nse                                                                                                                      Adobe                                                                                                            -21 .19
   07/02/2024                                                     Expense                                                                                                                        USPS                                                                                                            -50.25
   07/02/2024                                                     Expense                                                                                                                        Uber                                                                                                            -1 0.95
   07/02/2024                                                     Expe nse                                                                                                                       Align Techn ology, Inc.                                                                                       -388.80
   07/02/2024                                                     Expense                                                                                                                        at&T                                                                                                          -282.89
   07/02/2024                                                     Expense                                                                                                                        Uber                                                                                                              -8.90
   07/02/2024                                                     Expense                                                                                                                        QCC Insurance Company                                                                                           -26.42
   07/02/2024                                                     Expense                                                                                                                                                                                                                                      -141.48
   07/02/2024                                                     Expense                                                                                                                                                                                                                                   -2,886.88
   07/03/2024                                                     Expense                                                                                                                        Align Techno logy, Inc.                                                                                    -3 ,125.00
   07/03/2024                                                     Expense                                                                                                                                                                                                                                        -24 .92
   07/03/2024                                                     Expense                                                                                                                                                                                                                                   -1 ,197 .51
   07/03/2024                                                     Expense                                                                                                                        We Wash It Laundry Services                                                                                     -42.75
   07/03/2024                                                     Expense                                                                                                                        We Wash It Laundry Services                                                                                     -42.75
   07/03/2024                                                     Expense                                                                                                                        wine and spirits                                                                                                -60.47
   07/03/2024                                                     Expense                                                                                                                        Uber                                                                                                               -8.91
   07/05/2024                                                     Expense                                                                                                                        Comcast                                                                                                       -342.97
   07/05/2024                                                     Expense                                                                                                                        quickbooks                                                                                                      -63.60
   07/05/2024                                                      Expense                                                                                                                       PG Crest                                                                                                      -535 .77
   07/05/2024                                                      Expense                                                                                                                       Uber                                                                                                               -9.96
   07/05/2024                                                      Expense                                                                                                                                                                                                                                      -181.65
   07/05/2024                                                      Expense                                                                                                                       SprintRay                                                                                                        -30.00
   07/05/2024                                                      Expense                                                                                                                       Jeans Cafe                                                                                                     -221 .70
   07/05/2024                                                      Expe nse                                                                                                                      Uber                                                                                                               -8 .99
   07/05/2024                                                      Expe nse                                                                                                                      Apple                                                                                                            -24.82
   07/05/2024                                                      Expen se                                                                                                                      Uber                                                                                                             -22.66
   07/08/2024                                                      Expense                                                                                                                       Amazon                                                                                                           -66.42


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   DATE               TYPE                    REF NO.              PAYEE                                      AMOUNT (USD)
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  07/08/2024          Expense                                                                                            -5 .39
  07/08/2024          Expense                                       American Funds                                    -948.86
  07/08/2024          Expense                                       GrubHub                                            -32.26
  07/08/2024          Expense                                       Apple                                              -21.59
  07/08/2024          Expense                                       Uber                                                 -9.92
  07/08/2024          Expense                                       Amazon                                            -305 .55
  07/08/2024          Expense                                       Uber                                                 -9.98
  07/09/2024          Transfer                                                                                     -3,000.00
  07/09/2024          Expense                                       Uber                                                 -7.66
  07/09/2024          Expense                                       Compass Network Group                             -927.56
  07/09/2024          Expense                                                                                         -209 .90
  07/09/2024          Expense                                       Amazon                                            -129.14
  07/09/2024          Expense                                       chipotle                                             -2.01
  07/09/2024          Expense                                       chipotle                                           -30.29
  07/09/2024          Expense                                       Best Buy                                           -58 .29
  07/09/2024          Expense                                                                                     -24 ,607 .13
  07/10/2024          Expense                                                                                         -668.20
  07/10/2024          Expense                                       USPS                                               -10.40
  07/10/2024          Expense                                       Uber                                               -10.00
  07/10/2024          Expense                                       Uber                                                 -8.93
  07/10/2024          Expense                                       App le                                               -9.99
  07/10/2024          Expense                                                                                         -205 .46
   07/10/2024         Expense                                       USPS                                               -20 .27
   07/10/2024         Expense                                       Tiffany Bakery                                     -47.84
   07/11/2024         Expense                                       five guys                                          -38 .06
   07/11/2024         Expense                                       Uber                                                 -8 .98
   07/11/2024         Expense                                       White Oak Orthodontic                             -569 .13
   07/11/2024         Expense                                       Uber                                                -11.98
   07/11/2024         Expense                                       Uber                                                 -8.96
   07/11/2024         Expense                                       Uber                                                 -8 .98
   07/11/2024         Expense                                       PG Crest                                          -224.64
   07/11/2024         Expense                                                                                     -12,980.95
   07/11/2024         Expense                                       GrubHub                                             -46 .45
   07/12/2024         Expense                                       USPS                                                -10.40

   07/12/2024         Expense                                       dunkin donuts                                     -100 .00

   07/12/2024         Expense                                       Labelvalue                                        -144.90

   07/12/2024         Expense                                       Supply Clinic                                     -173.87
                      Expense                                       We Wash It Laundry Services                         -42.75
   07/12/2024
                      Expense                                        Philadelph ia Department of R ...               -2 ,000.00
   07/12/2024
                      Expense                                        Uber                                                -8.92
   07/12/2024
                      Expense                                        ParkMobi le-10                                      -3.28
   07/15/2024
                      Expense                                                                                          -161.50
   07/15/2024
                      Expense                                                                                          -356.50
   07/15/2024
                      Expense                                        Uber                                                -9 .00
   07/15/2024
                      Expense                                        Uber                                                -9.00
   07/15/2024
                      Expense                                        Uber                                                -8 .99
   07/15/2024
                      Expense                                        GrubHub                                            -24.29
   07/15/2024
   07/15/2024         Expense                                        Apple                                              -21.59
                      Expense                                        Amazon                                            -116.44
   07/15/2024
   07/15/2024         Expense                                        American Funds                                    -935 .58
                      Expense                                        Amazon                                             -39.65
   07/16/2024
                       Expense                                       Da rby                                            -535.49
   07/16/2024
   07/16/2024          Expense                                       Uber                                                 -9.99
   07/16/2024          Expense                                       Uber                                               -12.00

   07/17/2024          Expense                                       Uber                                                 -8.90

   07/17/2024          Expense                                       Benco Dental                                    -2 ,189.21

   07/17/2024          Expense                                       Amazon                                            -132.45

   07/17/2024          Expense                                       Uber                                                 -9 .91
   07/17/2024          Expense                                       spotify                                            -21.59
   07/18/2024          Expense                                       We Wash It Laundry Services                        -85.50
   07/18/2024          Expense                                       Uber                                                 -8.96
   07/18/2024          Expense                                       Align Technology, Inc.                          -2 ,351 .89
   07/18/2024          Expense                                       Uber                                                 -8 .98
   07/19/2024          Expense                                       Da rby                                          -1,032.16

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                                                                                PAYEE                              AMO UNT (USO)
   07/19/2024                       Expense                                     Uber                                           -8.91
   07/19/2024                       Expense                                     Bank of America                           -2 ,807 .97
   07/19/2024                       Expense                                     Uber                                           -8.96
   07/19/2024                       Expense                                     Benco Dental                                -321.98
   07/19/2024                       Expense                                     Uber                                           -9 .95
   07/19/2024                       Expense                                     Spear Education                             -302.40
   07/19/2024                       Expense                                     U-Hau l                                     -237.55
   07/22/2024                       Expense                                     Google                                       -10.79
   07/22/2024                       Expense                                     Uber                                           -9.00
   07/22/2024                       Expense                                     Uber                                           -8 .95
   07/22/2024                       Expense                                     Compass Network Group                     -1,400.54
   07/22/2024                       Expense                                                                                  -13 .72
   07/22/2024                       Expense                                     USPS                                         -10.40
   07/22/2024                      Expense                                      Benco Dental                                -392.30
   07/22/2024                      Expense                                                                                  -400 .00
   07/23/2024                      Expense                                      USPS                                         -10.40
   07/23/2024                      Expense                                                                              -29,476 .58
   07/23/2024                      Expense                                      Apple                                       -107 .99
   07/23/2024                      Expense                                      Amazon                                      -316.12
   07/23/2024                      Expense                                      We Wash It Laundry Services                  -42 .75
   07/23/2024                      Expense                                      Uber                                           -8 .96
   07/24/2024                      Expense                                      Uber                                           -9 .97
   07/24/2024                      Expense                                      App le                                      -107 .99
   07/24/2024                      Expense                                      Uber                                           -8 .96
   07/24/2024                      Expense                                      Patterson Dental                          -1 ,251 .57
   07/24/2024                      Expense                                      Cintas                                      -199.91
   07/24/2024                      Expense                                      Uber                                         -15.92
   07/25/2024                      Expense                                      White Oak Orthodontic                       -972.95
   07/25/2024                      Expense                                      Benco Dental                                -321.98
   07/25/2024                      Expense                                      USP S                                          -1.77
   07/25/2024                      Expense                                      Uber                                           -8.93
   07/25/2024                      Expense                                                                              -14,683 .91
   07/26/2024                      Expense                                      Verizon                                     -302.17
   07/26/2024                      Expense                                      Amazon                                      -110.16
   07/26/2024                      Expense                                      Uber                                           -9.98
   07/26/2024                      Expense                                      Uber                                           -6.67
   07/26/2024                       Expense                                     Scoop Deville                                -67 .50
   07/29/2024                       Expense                                     Sampan                                      -332.20
   07/29/2024                       Expense                                     Uber                                           -9 .93
   07/29/2024                       Expense                                     App le                                       -21.59
   07/29/2024                       Expense                                     Uber                                           -8 .92
   07/29/2024                       Expense                                                                                  -16.99
   07/29/2024                       Expense                                     Uber                                           -9.93
   07/29/2024                       Expense                                     Asana                                       -218 .55
   07/29/2024                       Expense                                                                                  -25 .46
   07/29/2024                       Expense                                                                                  -37.50
   07/30/2024                       Expense                                     USPS                                         -10.40
   07/30/2024                       Expense                                     We Wash It Laundry Services                  -85.50
   07/30/2024                       Expense                                     Uber                                           -9.99
   07/30/2024                       Expense                                                                                 -160.48
   07/31 /2024                      Expense                                     Uber                                           -9.93
   07/3 1/2024                      Expense                                     Align Technology, Inc.                    -5 ,511 .00
   07/31 /2024                      Expense                                     Uber                                           -8 .94

   Total                                                                                                             -141,867.53


   Deposits and other credits cleared (76)

   DATE                             TY PE                  REF NO.              PAY EE                             AMO UNT (US O)
   07/01 /2024                      Deposit                                                                                  845.86
   07/01 /2024                      Deposit                                                                                  700.00
   07/01 /2024                      Deposit                                                                                   33.04
   07/01 /2024                      Expense                                                                                2,000 .00


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   DATE               TYPE                      REF NO .             PAYEE                     AMOUNT (USO)
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   07/01 /2024        Transfer                                                                        4,000.00
   07/02/2024         Deposit                                                                           333.28
   07/02/2024         Deposit                                                                            41 .67
   07/02/2024         Deposit                                                                            41.67
   07/02/2024         Deposit                                                                            97.00
   07/02/2024         Deposit                                                                            83.34
   07/02/2024         Deposit                                                                            48.50
   07/02/2024         Deposit                                                                           392 .76
   07/02/2024         Deposit                                                                            67 .09
   07/02/2024         Deposit                                                                            65.00
   07/02/2024         Deposit                                                                           228 .87
   07/02/2024         Deposit                                                                            10.00
   07/03/2024         Deposit                                                                         1,384.00
   07/03/2024         Deposit                                                                           562.00
   07/03/2024         Deposit                                                                            50.00
   07/03/2024         Transfer                                                                      18 ,000 .00
   07/03/2024         Deposit                                                                       12,050.02
   07/05/2024         Transfer                                                                       8 ,000 .00
   07/08/2024         Transfer                                                                       4 ,000 .00
   07/09/2024         Tra nsfer                                                                      6,000 .00
   07/09/2024         Deposit                                                                           109.85
   07/09/2024         Deposit                                                                           250.14
   07/09/2024         Deposit                                                                          972.00
   07/09/2024         Deposit                                                                          228.87
   07/10/2024         Deposit                                                                           20.13
   07/10/2024         Deposit                                                                           13.77
   07/11/2024         Transfer                                                                       9,000.00
   07/11/2024         Deposit                                                                           52.08
   07/11/2024         Deposit                                                                          343.00
   07/12/2024         Deposit                                                                       13,370.00
   07/15/2024         Deposit                                                                           60.00
   07/15/2024         Deposit                                                                          843.14
   07/15/2024         Deposit                                                                          500.00
   07/15/2024         Deposit                                                                        1,050.00
   07/15/2024         Deposit                                                                          165.00
   07/15/2024         Deposit                                                                          735.00
   07/15/2024         Deposit                                                                          635.00
   07/15/2024         Deposit                                                                          771 .75
   07/15/2024         Deposit                                                                               5.00
   07/15/2024         Deposit                                                                             218.68
   07/15/2024         Deposit                                                                             220.00
   07/15/2024         Deposit                                                                             201.27
   07/17/2024         Expense                                                                         20 ,000.00
   07/1 7/2024        Deposit                                         Giovanni Morocho                      2.00
   07/17/2024         Deposit                                                                             440.15
   07/19/2024         Deposit                                                                          2,028.00
   07/19/2024         Transfer                                                                         9,000 .00
   07/19/2024         Deposit                                                                             268.00
   07/19/2024         Deposit                                                                             198.00
   07/23/2024          Deposit                                                                         2,886.90
   07/23/2024          Deposit                                                                            276.63
   07/23/2024          Deposit                                                                            350.00
   07/23/2024          Deposit                                                                            222.00
   07/23/2024          Deposit                                                                         1,000.00
   07/23/2024          Deposit                                                                            610.00
   07/23/2024          Deposit                                                                            194.00
   07/23/2024          Deposit                                                                            350.00
   07/23/2024          Deposit                                                                            943.48
   07/23/2024          Deposit                                                                            321.98
   07/24/2024          Deposit                                                                             77.08
   07/24/2024          Tra nsfer                                                                       8 ,000.00
   07/25/2024          Transfer                                                                       10 ,000 .00
   07/26/2024          Deposit                                                                        13,724.00
   07/30/2024          Deposit                                                                             28.00

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8/6/24, 6:20 PM
           Case 24-11728-pmm                     Doc 140 Filed 09/10/24 about:b lank
                                                                          Entered    09/10/24 11:48:42        Desc Main
   DATE                             TYPE                Document
                                                            REF NO . Page 10 of PAYEE
                                                                                  36                               AMOUNT (USO)
   07/30/2024                       Deposit
                                                                                                                             41 .67
   07/30/2024                       Deposit
                                                                                                                           817.50
   07/30/2024                       Deposit
                                                                                                                           145.50
   07/30/2024                       Deposit
                                                                                                                          1,000.00
   07/30/2024                       Deposit                                                                                162.71
   07/30/2024                       Deposit                                                                                145.50
   07/31 /2024                      Deposit                                                                               2,500.00
   07/31 /2024                      Deposit                                                                                150.00

   Total                                                                                                             164,681.88


   Additional Information

   Unclea red checks and payments afte r 07/31 /2024

   DATE                             TYPE                     REF NO.             PAYEE                             AMOUNT (USO)
   08/01 /2024                      Expense                                     Uber                                         -9.94
   08/01 /2024                      Expense                                                                             -1,780 .09
   08/01 /2024                      Expe nse                                    We Wash It Laundry Services                -42.75
   08/01 /2024                      Expense                                                                             -4 ,933.20
   08/01 /2024                     Expense                                                                              -1 ,123.64
   08/01 /2024                     Expense                                      Uber                                       -14 .00
   08/02/2024                      Expense                                                                              -1 ,345.13
   08/02/2024                      Expense                                      Uber                                       -10.98
   08/02/2024                      Expense                                      chipotle                                   -53.79
   08/02/2024                      Expense                                      DoorDash                                   -96 .00
   08/02/2024                      Expense                                                                                -145.80
  08/02/2024                       Expense                                      QCC Insurance Company                      -26.42
  08/02/2024                       Expense                                      adobe systems                              -21.19
   08/02/2024                      Expense                                      dunkin donuts                             -100 .00
   08/02/2024                      Expense                                      Uber                                         -9 .95
   08/02/2024                      Expense                                      at&T                                      -283 .03

   Total                                                                                                              -9,995.9 1


   Uncleared deposits and other credits after 07/31 /2024

   DATE                             TYP E                    REF NO .           PAYE E                             AMOUNT (USO)

   08/01 /2024                     Tra nsfer                                                                            15,000.00
   08/02/2024                      Deposit                                                                                  10.00
   08/02/2024                       Deposit                                                                                942.00
   08/02/2024                       Deposit                                                                                783.00
   08/02/2024                       Deposit                                                                                233.00
   08/02/2024                       Deposit                                                                                353.00
   08/02/2024                       Deposit                                                                                198.00


   Total                                                                                                              17,51 9. 00




about:b lank                                                                                                                          5/5
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                                                                                                                          BANK OF AMERICA

BANK OF AME RICA                               ~;J;                                                                      Preferred Rewards
                                                                                                                         For Business




                                                                                j
P.O. Box 15284
Wilmington, DE 19850                                                                                                             Customer service information


                                                                                                                                 1.888.BUSINESS (1.888.28 7.4637)

                                                                                                                                 bankofamerica.com
  PHILADELPHIA ORTHODONTICS, PC
  1420 WALNUT ST STE 518                                                                                                         Bank of America, N.A.
                                                                                                                                 P.O. Box 25118
  PHILADELPHIA, PA 19102-4004
                                                                                                                                 Tampa, FL 33622-5118




      Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Fundamentals™ Banking
Preferred Rewards for Bus Gold
for July 1, 2024 to July 31, 2024                                                                                        Account number: -                               2306
PHILADELPHIA ORTHODONTICS, PC

Account summary
Beginning balance on July 1, 2024                                                            $18,440.98             # of deposits/ credits: 76
Depos its and other credits                                                                  164,681.88             # of w ithd rawals/ debits: 157

Withdrawals and other debits                                                               -133,521.38              # of items-previous cyc le1: 0

Checks                                                                                         -8,339.2 5           # of days in cycle: 31
Service fees                                                                                          -6.90         Average ledger ba lance: $36,803.99

Ending balance on July 31, 2024                                                           $41,255 .3l"              ' Includes checks paid, deposited items and other debits

                                                                                                           ~




                                       Go paperless today!
                                       • Redu ce the risk of lost, delayed or stolen mail

                                       • View your statements securely and easily-online or from our mobile app-
                                         24/7 from virtually anywhere'

                                       Simply use our Mobile Banking app or sign in to Online Banking at bankofamerica .com.


        When you use the QRC feature certain information is collected from your mobile device for business purposes.
      ' Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices. Message and data rates may apply.   ssM-08-23-077 3B I 5902255
     Case 24-11728-pmmI Account#
                         Doc 140 Filed
PHILADELPHIA ORTHODONTICS, PC           09/10/24
                                      306 I July 1, 2024Entered       09/10/24 11:48:42
                                                         to July 31, 2024                                     Desc Main
                                 Document      Page 12 of 36
IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule wh ich contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

        Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
        Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, fami ly or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer. for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it wil l take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                          Bank of America, N.A. Member FDIC and     1=)     Equal Housing Lender
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                                                                                                       Your checking account
BANK OF AMERICA~~
PHILADELPHIA ORTHODONTICS, PC            I Account #          2306   I July 1, 2024 to July 31, 2024




Deposits and other credits
Date                Description                                                                                                          Amount /
07 / 01 / 24        Online Banking transfer from CHK 2296 Confirmation # 7382805880                                                   4,000.00 /

07/01 / 24          Online Banking transfer from CHK 2296 Confirmation # 7486547277                                                   2,000.00

07 / 01 / 24        BKOFAMERICA MOBILE 07 / 01 3747416620 DEPOSIT                     *MOBILE          PA                               845.86

07 / 01 / 24        BKOFAMERICA MOBILE 07 / 01 3621271772 DEPOSIT                     *MOBILE          PA                               700.00

07 / 01 / 24        PURCHASE REFUND 0628 Amazon.com Amzn.co m/ billWA 74692164180101007903834 CKCD                                        33.04
                    5411 XXXXXXXXXXXX0596

07 / 02 / 24        BKOFAMERICA MOBILE 07 / 02 3744735219 DEPOSIT                     *MOBILE          PA                               392.76

07 / 02 / 24        BKOFAMERICA MOBILE 07 / 02 3748501678 DEPOSIT                     *MOBILE          PA                               333.28

07 / 02 / 24        BKOFAMERICA MOBILE 07 / 02 3744699921 DEPOSIT                     *MOBILE          PA                               228.87

07 / 02 / 24        BKOFAMERICA MOBILE 07 / 02 3744703377 DEPOSIT                     *MOBILE          PA                                 97 .00

07 / 02 / 24        BKOFAMERICA MOBILE 07 / 02 3622330543 DEPOSIT                     *MOBILE          PA                                 83 .34

07 / 02 / 24        BKOFAMER ICA MOBILE 07 / 02 3744736047 DEPOSIT                    *MOBILE          PA                                 67 .09

07 /02 / 24         BKOFAMERICA MOBILE 07 / 02 3622356338 DEPOSIT                     *MOBILE          PA                                 65.00

07 /02 / 24         BKOFAMERICA MOBILE 07 /02 3622332763 DEPOSIT                      *MOBILE          PA                                 48.50

07 /02 / 24         BKOFAMERICA MOBILE 07 / 02 3744702609 DEPOSIT                     *MOBILE          PA                                 41.67

07 / 02 /24         BKOFAMERICA MOBILE 07 /02 3744701943 DEPOSIT                      *MOBILE          PA                                 41 .67

07 /02 / 24         Prfd Rwds for Bus-Payro ll Refund                                                                                     10.00 ✓

07 / 03 /24         Online Banking transfer from CHK 2296 Confirmation # 7899988455                                                 18,000.00

07 /03 / 24          BANKCARD CREDIT                                                                                                12,050.02

07 /03 / 24          Deposit                                                                                                          1,384.00

07 /03 / 24          Deposit                                                                                                             562 .00

07 /03 / 24          Deposit                                                                                                              50.00

07 /05/ 24           Online Banking transfer from CHK 2296 Confirmation # 77 17572018                                                 8,000.00 ~

07/08/ 24            Online Banking transfer from CHK 2296 Confirmation # 8026120506                                                  4,000.00 /

07 /09 / 24          Online Banking transfer from CHK 2296 Confirmation # 735 19257 18                                                6,000.00
                                                                                                                         continued on the next page




               We kn ow you can bank anywhe re~~-:.•--•-BA•N_K•O_F•A_M•E_R-,c_A•'°'_~•-•_-----r_-._
                 Thank you for choosing us.                      ~-:.-
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         5SM• l 0-23-0365 B I 6024375
        Case 24-11728-pmmI Account
                            Doc 140    Filed 09/10/24 Entered 09/10/24 11:48:42                                     Desc Main
PHILADELPHIA ORTHODONTICS, PC      #      2306 I July 1, 2024 to July 31, 2024
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Deposits and other credits - continued
Date           Description                                                                                                                             Amount
07 / 09/ 24    BKOFAMERICA MOBILE 07 / 09 3748677849 DEPOSIT                   *MOBILE      PA                                                         972.00
07 /09/ 24     BKOFAMERICA MOBILE 07/ 09 3748681827 DEPOSIT                    *MOB ILE     PA                                                         250.14
07 / 09/ 24    BKOFAMERICA MOBILE 07 / 09 3730347905 DEPOSIT                   *MOB ILE     PA                                                         228.87

07 / 09/ 24    BKOFAMERICA MOBILE 07 / 09 3752479288 DEPOSIT                   *MOBILE      PA                                                         109.85

07 / 10/ 24    PURCHASE REFUND 0709 AMAZON MKTPLACE PMTS Amzn.com/ billWA                                                                                 20.13
               74692 164191100188631419 CKCD 5942 XXXXXXXXXXXX0596

07/10/ 24      PURCHASE REFUND 0709 AMAZON MKTPLACE PMTS Amzn.com/ billWA                                                                                 13.77
_ _ _ _ _7_4 6_9_2_1_6_
                      41_9_1_1_00
                                _ 2_1_7_4_6 8_ 7_4_2_c_K_c_D_5_9_4_2 _x_xx
                                                                         _x_x_x_x_x x
                                                                                    _ x_x_x_o_59_ 6_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ /
07 /1 1/ 24    Online Banking transfer from CHK 2296 Confirmation # 7669158222                                                                    9,000.00

07/11 / 24     BKOFAMERICA MOBILE 07 / 11 3749671053 DEPOSIT                   *MOBILE      PA                                                        343 .00

07 / 11 / 24   BKOFAMERICA MOBILE 07 / 11 37 49671869 DEPOSIT                  *MOBILE      PA                                                            52.08

07 / 12/ 24    KEYSTONE FIRST DES:PAYMENT         ID:14835 INDN:PHILADELPHIA ORTHODONT CO                                                      13,370.00
               ID:1364595216 CCD

07 /15/ 24     BKOFAMERICA MOBILE 07 / 15 3755901508 DEPOSIT                   *MOBILE      PA                                                    1,050.00

07 / 15/ 24    BKOFAMERICA MOBILE 07 / 15 3629564468 DEPOSIT                   *MOBILE      PA                                                        843.14

07 /15/ 24     BKOFAMERICA MOBILE 07 / 15 3731966015 DEPOSIT                   *MOBILE      PA                                                         771. 75

07 /15/ 24     BKOFAMERICA MOBILE 07 / 15 3652749528 DEPOSIT                   *MOBILE      PA                                                         735.00

07 /15/ 24     BKOFAMERICA MOBILE 07 / 15 3629383112 DEPOSIT                   *MOBILE      PA                                                         635.00

07/15/ 24      Deposit                                                                                                                                 500.00

07 /15/ 24     Depos it                                                                                                                                220.00

07 / 15/ 24    BKOFAMERICA MOBILE 07 /15 3629356843 DEPOSIT                    *MOB ILE     PA                                                         218.68

07 / 15/ 24    BKOFAMER ICA MOBILE 07 / 15 3756083344 DEPOSIT                  *MOBILE      PA                                                         201 .27

07 / 15/ 24    BKOFAMERICA MOBILE 07 / 15 3752292771 DEPOSIT                   *MOBILE      PA                                                         165.00

07 / 15/ 24    Deposit                                                                                                                                    60.00

07 / 15/ 24    Deposit                                                                                                                                         5.00

07/17/ 24      Online Banking transfer from CHK 2296 Confirmation # 7420692221                                                                 20,000.00 /

07 / 17 / 24   BKOFAMER ICA MOBILE 07 / 17 3630444925 DEPOSIT                  *MOBILE      PA                                                         440.15

07 / 17/ 24    Zel le payment from GIOVANNE MOROCHO Conf# 0I07KODX3                                                                                            2.00 ✓
07/19/ 24      Online Banking transfer from CHK 2296 Confirmation # 7542990396                                                                    9,000.00

07 /19/ 24     Deposit                                                                                                                            2,028.00

07 /19/ 24     Deposit                                                                                                                                 268.00

07 /19/ 24     Deposit                                                                                                                                 198.00

07 / 23 / 24   Patriot Software DES:PAYROLLTAX ID:T21 954469 INDN:PHILADELPHIA ORTHODONT CO                                                        2,886.90
               ID:9091915000 CCD

07 / 23/ 24    BKOFAMERICA MOBILE 07 / 23 3773385964 DEPOSIT                   *MOBILE      PA                                                     1,00000

07 / 23 / 24   BKOFAMER ICA MOBILE 07 / 23 3660522252 DEPOSIT                  *MOBILE      PA                                                         943.48

07 / 23/ 24    BKOFAMERICA MOBILE 07 / 23 3640758572 DEPOSIT                   *MOBILE      PA                                                         610.00
                                                                                                                        continued on the next page




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                                                                                                Your checking account
BANK OF AMERICA~~
PHILADELPHIA ORTHODONTICS, PC I Account#                2306 I Ju ly 1, 2024 to July 31, 2024




Deposits and other credits - continued
Date           Description                                                                                                              Amount
07 / 23/ 24    BKOFAMER ICA MOB ILE 07 / 23 3660522996 DEPOSIT                 *MOBILE          PA                                      350.00
07 / 23 / 24   BKOFAMERICA MOBILE 07 / 23 3763463319 DEPOSIT                   *MOBILE          PA                                      350.00
07 / 23 / 24   CHECKCARD 0722 BENCO DENTAL CO 8004623626           PA 7413829420501260700                                               321 .98
07 / 23 / 24   BKOFAMERICA MOBILE 07/ 23 3745853549 DEPOS IT                   *MOBILE          PA                                      276.63

07 / 23 / 24   BKOFAMERICA MOBILE 07 / 23 3660523950 DEPOSIT                   *MOB ILE         PA                                      222.00
07 / 23 / 24   BKOFAMERICA MOBILE 07 / 23 3660524490 DEPOSIT                   *MOBILE          PA                                      194.00

07 / 24/ 24    Online Banking transfer from CHK 2296 Confirmation # 8081559782                                                      8,000.00        ✓
07 / 24/ 24    BKOFAMERICA MOBILE 07 / 24 3661298538 DEPOS IT                  *MOBILE          PA                                         77.08

0 7/25/ 24     Online Banking transfer from CHK 2296 Confirmation # 7989682963                                                   10,000.00          ✓
07 / 26/ 24    KEYSTONE FIRST DES :PAYMENT       ID:14835 INDN:PHILADELPHIA ORTHODONT CO                                         13,724.00
               ID:1364595216 CCD

07 /30/ 24     BKOFAMERICA MOBILE 07 / 30 3664268088 DEPOSIT                   *MOBILE          PA                                  1,000.00

07 /30/ 24     BKOFAMERICA MOBILE 07 / 30 3664268430 DEPOSIT                   *MOBILE          PA                                      817 .50

07 / 30/ 24    BKOFAMERICA MOBILE 07 / 30 3777199714 DEPOSIT                   *MOBILE          PA                                      162.7 1

07 / 30/ 24    BKOFAMERICA MOBILE 07 / 30 3664269264 DEPOSIT                   *MOBILE          PA                                      145.50

07 /30/ 24     BKOFAMERICA MOBILE 07 /30 3767285715 DEPOSIT                    *MOBILE          PA                                      145.50

07 /30/ 24     BKOFAMER ICA MOBILE 07 /30 3777202156 DEPOSIT                   *MOB ILE         PA                                         41 .67

07 /30/ 24     BKOFAMERICA MOB ILE 07 /30 3643817905 DEPOSIT                   *MOBILE          PA                                         28.00

07 /31 / 24    BKOFAMERICA MOBILE 07 / 31 3777787468 DEPOSIT                   *MOBILE          PA                                  2,500.00

0 7/3 l / 24   BKOFAMERICA MOBILE 07 / 31 3664852860 DEPOSIT                   *MOB ILE         PA                                      150.00

Total deposits and other credits                                                                                     $164,681 .88



Withdrawals and other debits
D                                                                                                                                     Am        n
07 /02 / 24    Patriot Software DES PAYROLLTAX ID:T21605612 INDN:PHILADELPHIA ORTHODONT CO                                        -2,886.88
               ID:181 5426696 CCD
0 7/08/ 24     AMERICAN FUNDS DES :INVESTMENT ID:000000924626445 INDN:PHILADELPHIA ORTHODONT                                          -948.86
               CO ID:1956817943 CCD
0 7/09/ 24     Online Banking transfer to CHK 2296 Confirmation # 7851921284                                                      -3, 00000✓
0 7/09/ 24     Patriot Software DES :PAYROLL   ID:P21720233 INDN:PHILADELPHIA ORTHODONT CO                                     -24,607 .13
               ID:XXXXXXXXXC CCD
07/11 / 24     Patriot Software DES:PAYROLLTAX ID:T21 751873 INDN :PHILADELPHIA ORTHODONT CO                                   -12,980.95
               ID:9091915000 CCD
0 7/12/ 24     PHILA DEPT REV DES:TAX PYMT      ID:983645 INDN:PHILADELPHIA ORTHODONT CO                                          -2 ,000.00
               ID:2236003047 PPD
07/15/ 24      AMERICAN FUNDS DES :INVESTMENT ID:000000924626445 INDN:PHILADELPHIA ORTHODONT                                          -935.58
               CO ID :1956817943 CCD
0 7/19/ 24     B OF A COMMERCIAL LOAN TRAN         136357 10055688                                                                -2,807 .97
                                                                                                             continued on the next page



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        Case 24-11728-pmm             Doc 140 Filed
PHILADELPHIA ORTHODONTICS, PC I Account#
                                                    09/10/24 Entered 09/10/24 11:48:42
                                                  306 I July 1, 2024 to July 31, 2024
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Withdrawals and other debits - continued
Da                                                                                                                                   Am unt
07 / 23 / 24   Patriot Software DES:PAYROLL   ID:P21958457 INDN:PHILADELPHIA ORTHODONT CO                                      -29,476.58
               I0:XXXXXXXXXC CCD
07 /25 / 24    Patriot Software DES:PAYROLLTAX ID:T21988345 INDN:PH ILADELPHIA ORTHODONT CO                                    -14,683 .9 1
               10:9091915000 CCD
07/30/ 24      Shred-it USA LLC DES:Co llection ID:000008007666110 INDN:2306             co                                          -160.48
               ID :1683223000 PPD
Card account # XXXX XXXX XXXX 0596

07 / 01 / 24   CHECKCARD 0626 WEAVE RB 888-5795668 UT 24067204180228150500681 CKCD 7399                                              -611.81
               XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/01 / 24     PURCHASE 0628 Align Inv 7002536409 408-4701585 CA                                                                -2 ,9 50.00
07/01 / 24     PURCHASE 0628 GRUBHUBFIVEGUYS GRUBHUB.COM NY                                                                             -42.64
07/01 / 24     CHECKCARD 0627 PAYPAL *DISCUS DENT SAN JOSE            CA 24 l 98804180425620139236 CKCD                              -185.75
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/01 / 24     PURCHASE   0628 UBER    TR IP HELP.UBER.COMCA                                                                                -9.95
07/01 / 24     PURCHASE   0628 Amazon.co m*RC9YH8GV2 Amzn.com/ billWA                                                                -118.98
07/01 / 24     PURCHASE   0628 ASANA.COM HTTPSWWW.ASANCA                                                                             -218.55
07 / 01 / 24   PURCHASE   0630 Align Inv mu lt iple 408 -4701585 CA                                                             -2,844.06
07/01 /24      CHECKCARD 0629 AMAZON TIPS*R74872CFO SEATTLE             WA 24431064181009682438608                                          -7.00
               CKCD 5999 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/02/ 24      PURCHASE 0701 Align Inv 7002559637 408-4701585 CA                                                                     -388.80
07/02 / 24     PURCHASE 0702 UBER      TRIP HELP.UBER.COMCA                                                                                 -8.90
07 / 02/ 24    CHECKCARD 0701 PATRIOT SOFTWARE, LLC 877-968-7147 OH 24801974183016790560157                                          -141.48
               RECURRING CKCD 7372 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /02/24      PURCHASE   0701 Indeed 94839921 800-4625842 TX                                                                        -319.72
07/02 / 24     CHECKCARD 0701 ADOBE *ADOBE 408-536-6000 CA 24492154183717252293012 RECURRING                                            -21.19
               CKCD 5734 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /02/ 24     CHECKCARD 0701 USPS PO 4164940179 PHILADELPHIA PA 24137464184001393893573 CKCD                                           -50.25
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 02 / 24   PURCHASE 0701 ATT* BILL PAYMENT 800-331-0500 TX                                                                       -282.89
07 / 02 / 24   PURCHASE   0702 UBER    TRIP HELP.UBER.COMCA                                                                              -10.95
07/02 / 24     CHECKCARD 0701 QCC INSURANCE COMPANY HTTPS://WWW. IPA 24943004183010856008933                                             -26.42
               RECURRING CKCD 6300 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /02 / 24    CHECKCARD 0702 GOOGLE *Google Nest 855-836-3987 CA 2469216418410394574 l 970                                          -162.00
               RECURRING CKCD 5045 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /03 / 24    PURCHASE 0702 SP ITERO STORE ORDER HTTPSSHOP.ITEAZ                                                                -1,197.51
07 /03/24      CHECKCARD 0702 Align Inv payment 408-4701585 CA 247933841840016763 l 5059 CKCD                                    -3,125.00
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /03 / 24    CHECKCARD 0701 DENTALXCHANGE.COM 877-932-2567 CA 24498134184029012094671                                                  -24.92
               CKCD 8999 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /03/24      PURCHASE   0703 UBER    TRIP HELP.U BER.COMCA                                                                                -8.91
07 /03 / 24    CHECKCARD 0702 IN *WE WASH IT LAUNDRY 215-2458403 PA 24692164184104662217103                                              -42.75
               CKCD 721 0 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 03 / 24   CHECKCARD 0702 WINE AND SPIR ITS 5161 PHILADELPHIA PA 24733094184002897042645                                             -60.47
               CKCD 5921 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /03 / 24    CHECKCARD 0702 IN *WE WASH IT LAUNDRY 215-2458403 PA 246921 6418410466221 7087                                            -42.75
               CKCD 721 0 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/05 / 24     CHECKCARD 0703 TST* COOKNSOLO - ZAHAV PHILADELPH IA PA 24137464185500827135740                                         -181.65
               CKCD 5812 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /05 / 24    PURCHASE   0703 UBER    TRIP HELP.UBER .CO MCA                                                                            -22.66
                                                                                                           continued on the next page



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PHILADELPH IA ORTHODONTICS, PC        / Account#          2306   I Ju ly 1, 2024 to July 31, 2024



Withdrawals and other debits - continued
Da              Descri   ion                                                                                                                     m      n
07 /05/ 24      CHECKCARD 0704 COMCAST 800-COMCAST NJ 24692164186105797634136 RECURRING                                                        -342 .97
                CKCD 4899 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/05/ 24       PURCHASE       0704 UBER   TR IP HELP.UBER.COMCA                                                                                    -8.99
07 / 05/ 24     CHECKCARD 0703 JEANS CAFE PH ILADELPHIA PA 2455 l 934185030033898567 CKCD 5499                                                 -221.70
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /05/ 24      PURCHASE       0703 SPRINTRAY-DASHBOARD WWW.SPRINTRAYCA                                                                          -30.00
07 / 05/ 24     PURCHASE       0704 UBER   TRIP HELP.UBER.COMCA                                                                                     -9 .96
07/05/ 24       CHECKCARD 0704 INTUIT *QBooks Online CL.INTUIT.COMCA 24692164186106087358527                                                     -63.60
                RECURRING CKCD 5734 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 05/ 24     CHECKCARD 0705 APPLE .COM / BILL 866-712-7753 CA 24692164187106557143572 CKCD                                                    -24.82
                581 8 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 05/ 24     CHECKCARD 0705 P&G*CREST ORALB 800-543-2577 OH 24692164187106428757469 CKCD                                                    -535.77
                5999 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 08/ 24     CHECKCARD 0705 APPLE.COM / BILL 866-712-7753 CA 24692164187106609296766 CKCD 5818                                                -21.59
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 08/ 24     PURCHASE       0706 UBER   TRIP HELP.UBER.COMCA                                                                                     -9.98
07 / 08/ 24     CHECKCARD 0705 AMAZON.COM *R733A2VY1 SEATTLE                WA 24431064187013181397350                                           -66.42
                CKCD 5942 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 08/ 24     PURCHASE       0706 GRUBHUBSHAKESHACK GRUBHUB.COM NY                                                                             -32.26
07 / 08/ 24     PURCHASE       0706 AMAZON MAR * 114-157928 HTTPSAMAZON.CWA                                                                    -305.55
07 /08/ 24      PURCHASE       0706 UBER   TRIP HELP.UBER.COMCA                                                                                     -9.92
07 / 08/ 24     PURCHASE 0706 AMZNFreeTime*R78KX48E l 888 -802-3080 WA                                                                              -5.39
07 / 09/ 24     PURCHASE       0708 AMAZON MKTP L*R767J99S 1 Amzn .com/ billWA                                                                 -129 .14
07 / 09/ 24     PURCHASE       0708 UBER   TRIP HELP.UBER.COMCA                                                                                     -7 .66
07 /09/ 24      CHECKCARD 0708 COMPASS NETWORK GROUP 717-2788793 PA 24755424190271905598856                                                    -927.56
                CKCD 7372 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /09/ 24      CHECKCARD 0708 CHIPOTLE 1480 PHILADELPHIA PA 24431064191015130768353 CKCD 5814                                                    -30.29
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /09/ 24      CHECKCARD 0708 CHIPOTLE 1480 PH ILADELPHIA PA 24431064191015130768379 CKCD 5814                                                     -2.01
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /09/ 24      PURCHASE 0708 SP ORVANCE HTTP50RVANCE.MI                                                                                       -209 .90
07 /09/ 24      CHECKCARD 0708 BESTBUY RICHFIELD MN 24399004190503308095813 CKCD 5732                                                             -58.29
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/10/ 24       PURCHASE 0709 UBER         TR IP HELP.UBER.COMCA                                                                                  -10.00
07 / l 0 / 24   CHECKCARD 0709 APPLE.COM / BILL 866-712-7753 CA 24430994191023942084604                                                             -9.99
                RECURRING CKCD 5735 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /l 0 / 24    PURCHASE       0709 UBER   TR IP HELP.UBER.COMCA                                                                                    -8.93
07 / 10/ 24     CHECKCARD 0709 Tiffany Bakery PHILADELPHIA PA 24426294191027017616910 CKCD 5462                                                   -47 .84
                XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/10/ 24       CHECKCARD 0709 ORTHODONTIC SUPPLY & EQ clover.com              MD 24435654192005862573686                                      -668.20
                CKCD 8021 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 10/ 24     CHECKCARD 0709 USPS PO 4164940179 PH ILADELPHIA PA 24137464192001297697740 CKCD                                                   -20.27
                9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/10/ 24       CHECKCARD 0709 USPS PO 4164940179 PHILADELPHIA PA 24137464192001297697823 CKCD                                                    -10.40
                9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
                                                                                                                 continued on the next page




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07/10/ 24      CHECKCARD 0709 SUPPLY CLINIC, INC. WWW.SUPPLYCLIIL 24492 l 64191000028557369                                  -205.46
               RECURRING CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/11 / 24     CHECKCARD 0709 WHITE OAK ORTHODONTIC P 717-4925023 PA                                                         -569 .13
               2463923419290001840002 l CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 11 / 24   PURCHASE 0710 GRUBHUBFIVEGUYS GRUBHUB.COM NY                                                                     -3806
07/11 / 24     PURCHASE   0710 GRUBHUBG IOVAN ISPIZZA GRUB HUB.COM NY                                                           -46.45
07 / 11 / 24   PURCHASE   0710 UBER   TRIP HELP.UBER.COMCA                                                                            -8.98
07/ 11 / 24    PURCHASE   0711 UBER   TRIP HELP.UBER.COMCA                                                                            -8.96
07 / 11 / 24   PURCHASE 0711 UBER     TRIP HELP.UBER.COMCA                                                                            -8.98
07/11 / 24     PURCHASE   0711 UBER   TRIP HELP.UBER.COMCA                                                                      -11.98
07 / 11 / 24   CHECKCARD 0711 P&G*CREST ORALB 800-543-2577 OH 24692164193101296891187                                        -224.64
               RECURRING CKCD 5999 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 12/ 24    PURCHASE   0710 DUNKIN ' MOBILE AP 800-447-0013 MA                                                            -100.00
07 / 12/ 24    CHECKCARD 0711 IN *WE WASH IT LAUNDRY 215-2458403 PA 24692 164193102050257169                                    -42.75
               CKCD 7210 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/12/ 24      CHECKCARD 0711 LABELVALUE.COM 800-750-7764 FL 24607944193026041042613 CKCD                                    -144.90
               5943 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/12/ 24      PURCHASE   0712 UBER   TRIP HELP.UBER.COMCA                                                                        -8.92
07/12 / 24     CHECKCARD 071 1 USPS PO 4164940179 PH ILA DELPHIA PA 24137464194001383828660 CKCD                               -10.40
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 12/ 24    CHECKCARD 0711 SUPPLY CLINIC, INC. WWWSUPPLYCLIIL24492164193000036688048                                      -173.87
               RECURRING CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 15/ 24    PURCHASE   0712 UBER   TRIP HELP.UBER.COMCA                                                                        -9.00
07 / 15/ 24    PURCHASE 0713 UBER     TRIP HELP.UBER.COMCA                                                                        -8.99
07 / 15/ 24    PURCHASE   0712 WARBY PARKER WARBYPARKER.CNY                                                                  -161.50
07 / 15/ 24    PURCHASE   0712 WARBY PARKER WARBYPARl<ER.CNY                                                                 -356.50
07 / 15/ 24    PURCHASE   0713 UBER   TRIP HELP.UBER .COMCA                                                                       -9.00
07/15/ 24      PURCHASE   0713 GRUBHUBPHOHA GRUBHUB.COM NY                                                                     -24.29
07 /15/ 24     CHECKCARD 0713 APPLE.COM / BILL 866-712-7753 CA 24692164195100301417622 CKCD                                     -21.59
               5818 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 15/ 24    PURCHASE   0714 PARKMOB ILE-10 770-8 18-9036 GA                                                                    -3.28
07 / 15/ 24    CHECKCARD 0714 AMAZON.COM*RS03N0410 SEATTLE          WA 244310641960 18394557673                              -116.44
               CKCD 5942 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 16/ 24    PURCHASE   0715 AMAZON RET* 111-907436 WWWAMAZON.COWA                                                            -39.65
07 / 16/ 24    PURCHASE   0715 UBER   TRIP HELP.UBER.COMCA                                                                        -9.99
07 / 16/ 24    PURCHASE   0715 UBER   TRIP HELP.UBER.COMCA                                                                      - 12.00
07 / 16/ 24    CHECKCARD 0715 DAR*DARBY DENTAL SUPPL 800-448-7323 NY 24692164197102209029267                                 -535.49
               CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 17/ 24    CHECKCARD 0716 BENCO DENTAL CO 800-462-3626 PA 24138294 1990 10586007845 CKCD                             -2, 189.21
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/17 / 24     PURCHASE   0716 UBER   TRIP HELP.UBER.COMCA                                                                            -9.91
07/17 / 24     PURCHASE   0717 UBER   TRIP HELP.UBER.COMCA                                                                            -8.90
07/17 / 24     PURCHASE   0716 Spotify USA 877-7781161 NY                                                                       -21.59
07 / 17 / 24   PURCHASE   0716 AMZN Mktp US*RS8W04VRO Amzn.com/ bil lWA                                                      -132.45
07/18 / 24     PURCHASE 0717 Align Inv mu ltip le 408-4701585 CA                                                         -2 ,351 .89
07/18/ 24      PURCHASE 0717 UBER     TRIP HELP.UBER.COMCA                                                                            -8.96
07/ 18/ 24     PURCHASE   0718 UBER   TRIP HELP.UBER.COMCA                                                                            -8.98
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Date           Descri   i n                                                                                                                 Am         n
07/18/ 24      CHECKCARD 0717 IN *WE WASH IT LAUNDRY 215-2458403 PA 24692164199104188881500                                                    -85.50
               CKCD 721 0 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /19/ 24     CHECKCARD 0718 BENCO DENTAL CO 800-462-3626 PA 241382942010 11285006407 CKCD                                                 -321.98
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 19/ 24    PURCHASE       0718 UBER   TR IP HELP.UBER.COMCA                                                                                      -9.95
07 /19/ 24     CHECKCARD 0718 SPEAR EDUCATION LLC 866-781-0072 AZ 24005944200100252551908                                                   -302.40
               CKCD 8299 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 19/ 24    CHECKCARD 0717 U-HAUL S PHILADLPHIA 800-789-3638 PA 24 l 37464200500860365015                                                -237.55
               RECURRING CKCD 4225 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 19/ 24    PURCHASE       0719 UBER   TRIP HELP.UBER.COMCA                                                                                       -8.96
07 / 19/ 24    CHECKCARD 0718 DAR*DARBY DENTAL SUPPL 800-448-7323 NY 24692164200104975416905                                            -1,032.16
               CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/ 19/ 24     PURCHASE       0719 UBER   TR IP 8005928996   CA                                                                                  -8.91
07/22 / 24     CHECKCARD 0719 BENCO DENTAL CO 800-462-3626 PA 24 l 38294202011653006095 CKCD                                                -392.30
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 22 / 24   CHECKCARD 0720 GOOGLE *Google One 855 -836-3987 CA 24692 164202106464774734                                                    -10.79
               RECURR ING CKCD 5734 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 22 / 24   PURCHASE       0720 UBER   TRIP HELP.UBER .COMCA                                                                                  -8.95
07 / 22 / 24   CHECKCARD 0719 USPS PO 4164940179 PH ILADELPHIA PA 24137464202001384904 l 22 CKCD                                              -10.40
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 22/ 24    CHECKCARD 0719 COMPASS NETWORK GROUP I 7 XX-XXXXXXX PA                                                                  -1,400.54
               24024894201420200433261 CKCD 7372 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 22 / 24   CHECKCARD 0719 CYRACOM- LLC 520-7459447 AZ 2427539420 19000 19025033 CKCD 7399                                                 -13.72
               XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 22 / 24   PURCHASE       0720 UBER   TR IP HELP.UBER .COMCA                                                                                 -9 .00
07 / 22 / 24   CHECKCARD 0721 IN *LASSO MD INC 888-4488149 CA 24692164203107882201689                                                       -400.00
               RECURRING CKCD 73 11 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 23 / 24   PURCHASE 0722 AMZN Mktp US*RJ4C028DO Amzn.com / bi llWA                                                                      -316.12
07 / 23/ 24    PURCHASE 0723 UBER         TRIP HELP.UBER.COMCA                                                                                   -8.96
07 / 23/ 24    CHECKCARD 0722 IN *WE WASH IT LAUNDRY 2 XX-XXXXXXX PA 24692 164204108763052000                                                  -42.75
               CKCD 721 0 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 23/ 24    CHECKCARD 0722 USPS PO 4 1649401 79 PHILADELPH IA PA 2413746420500130229263 l CKCD                                             -10.40
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /23/24      CHECKCARD 0722 APPLE COM BILL CUPERT INO            CA CKCD 4899 XXXXXXXXXXXX0596 XXXX                                       -107.99
               xxxx xxxx 0596
07 / 24/ 24    PURCHASE 0723 UBER         TRIP HELP.UBER.COMCA                                                                                       -8.96
07 / 24/ 24    CHECKCARD 0723 CINTAS CORP 972-9967900 OH 247 17054205272055817281 CKCD 7399                                                 -199.9 1
               XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /24/ 24     CHECKCARD 0723 APPLE.COM / BILL 866-712-7753 CA 24692164205109093468345 CKCD                                                 -107.99
               5818 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 24/ 24    PURCHASE       0724 UBER   TRIP HELP.UBER.COMCA                                                                                 -15.92
07 / 24/ 24    CHECKCARD 0723 BTS*PattersonDental 800-3285536 MN 249064 l 4205205215330495 CKCD                                        -1,251.5 7
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07/24/ 24      PURCHASE       0724 UBER   TR IP 8005928996   CA                                                                                  -9.97
07 / 25/ 24    CHECKCARD 0724 BENCO DENTAL CO 800-462-3626 PA 241382942070133 18009071 CKCD                                                 -3 21.98
               5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
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Da                                                                                                           Am
07 / 25/ 24    CHECKCARD 0723 WHITE OAK ORTHODONTIC P 717-4925023 PA                                         -972.95
               24639234206900010300140 CKCD 5047 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 25/ 24    PURCHASE   0725 UBER    TRIP HELP.UBER.COMCA                                                      -8.93
07 / 25/ 24    CHECKCARD 0724 USPS PO 4164940179 PHILADELPHIA PA 24137464207001343723253 CKCD                    -1.77
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 26/ 24    PURCHASE   0725 UBER    TR IP HELP.UBER.COMCA                                                     -6.67
07 / 26/ 24    PURCHASE   0725 AMAZON MKTPL*RV25D3082 Amzn.com/ billWA                                       -110.16
07 / 26/ 24    PURCHASE   0725 VERIZON *RECURR IN G PAY 800-VER IZON FL                                      -302. 17
07 /2 6/ 24    PURCHASE   0726 UBER    TRIP HELP.UBER .COMCA                                                     -9.98
07 /2 6/ 24    CHECKCARD 0725 SQ *SCOOP DEVILLE gosq.com        PA 24692164207 101168601064 CKCD                -67.50
               5462 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 /2 9/ 24    PURCHASE   0726 UBER    TRIP HELP.UBER.COMCA                                                      -9 .93
07 / 29/ 24    CHECKCARD 0725 TST* SAMPAN Philadelphia PA 2469216420810 1789449702 CKCD 5812                 -332.20
               XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 29/ 24    CHECKCARD 0726 TST* ATT ICO PHILADELPHIA PA 24 l 37464208500699633742 CKCD 5813                  -37.50
               XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 29 / 24   PURCHASE   0727 UBER    TRIP HELP.UBER .COMCA                                                     -9.93
07 / 29/ 24    PURCHASE   0727 UBER    TRIP HELP.UBER .COMCA                                                     -8.92
07 / 29/ 24    CHECKCARD 0726 APPLE COM BILL CUPERTINO         CA CKCD 4899 XXXXXXXXXXXX0596 XXXX               -21.59
               xxxx xxxx 0596
07 / 29/ 24    CHECKCARD 0726 DOLLAR LEARNING FOUNDAT 844-695-3758 CA                                           -25.46
               24247604209500962460093 CKCD 8398 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 29 / 24   CHECKCARD 0727 DOLLAR LEARN ING FOUNDA 844-695-3 758 CA 2484218421001 704 l 514583               -16.99
               CKCD 8299 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 29/ 24    PURCHASE   0728 ASANA.COM HTTPSWWW.ASANCA                                                     -218.55
07 / 30/ 24    PURCHASE   0730 UBER    TRIP HELP.UBER .COMCA                                                     -9 .99
0 7/30/ 24     CHECKCARD 0729 USPS PO 4164940179 PHILADELPHIA PA 24137464212001311269977 CKCD                   -10.40
               9402 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 30/ 24    CHECKCARD 0729 IN *WE WASH IT LAUNDRY 215-2458403 PA 2469216421110478 7 112574                   -85.50
               CKCD 721 0 XXXXXXXXXXXX0596 XXXX XXXX XXXX 0596
07 / 31 / 24   PURCHASE   0730 Ali gn Inv multiple 408-4701585 CA                                          -5 ,511.00

07 / 31 / 24   PURCHASE   0 730 UBER   TRIP HELP.UBER.COMCA                                                       -8.94

07 / 31 / 24   PURCHASE 0731 UBER      TRIP HELP.UBER.COMCA                                                       -9.93
Subtotal for card account # XXXX XXXX XXXX 0596                                                         -$39,033 04
Total withdrawals and other debits                                                                     -$133,521,38


Checks
Date           Check #                              Amount

07 /02 / 24    1019                              -8,339 .2 5

Total checks                                  -$8,339.25
Total # of checks                                      1
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Service fees
   Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                      Total for this period                   Total year-to-date             We refunded to you a total of
                                                                                                                             $40.00 in fees for Overdraft
   Total Overdraft fees                                      $0.00                                 $150.00                   and/ or NSF: Returned Items
                                                                                                                             this year.
   Total NSF: Returned Item fees                             $0.00                                   $0.00

   We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
          - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
          your payments and purchases by automatically transferring money from your linked backup accounts when needed.
          - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
   Please call us or visit us if you have any questions or to discuss your options.
   (footnote 1) You may elect to receive alerts via text or emai l. Bank of America does not charge for this service but your mobile carrier's
   message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.


Date             Transaction description                                                                                                                                  Amount
07 /01 /24       Cash Deposit Processing                                                                                                                                      -6.90

Total service fees                                                                                                                                                      -$6.90
Note your Ending Balance already reflects the subtraction of Service Fees.



Daily ledger balances
Date                                   Balance($)         Date                                    Balance($)       Date                                              Balance($)

07/01                                 19,024.2 4          07/ 12                                 28,524.11       07/23                                           29,021 .02
07/02                                      7,794.69       07/ 15                                 32,282 .78      07/2 4                                          35,503 .7 8
07/03                                 35,338.40           07/16                                  31,685.65       07/25                                           29,514.24
07/05                                 41 ,896.28          07/17                                  49,765.7 4        07/26                                         42,741. 76
07/08                                 44,496.31           07/ 18                                 47,310.41         07/29                                         42,060.69
07/09                                 23,085.19           07/ 19                                 54,074.53         07 /3 0                                       44,135.20
07/ 10                                22,138.00           07/22                                  51,828.83         07/31                                         41,255.33
07 / 11                               17,634.95




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     Case 24-11728-pmmI Account
                          Doc #140 Filed
PHILADELPHIA ORTHODONTICS, PC          30609/10/24
                                           I July 1, 2024 Entered       09/10/24 11:48:42
                                                          to July 31 , 2024                 Desc Main
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 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.


Beginning November 1, there will be changes to some of the fees and how you can avoid them for your Business
Advantage Fundamentals Banking account. Here is what you can expect.

• How to avoid the $16 Monthly Fee
  Meet ONE of the following requirements during each statement cycle:
  • Maintain a $5,000 combined average monthly balance in eligible linked business deposit accou nts. (Footnote 1)
  OR
  • Use your Bank of America business debit card to make at least $500 in new net qualified purchases. (Fo otnote 2)
  OR
  • Be a member of Preferred Rewards for Business (first 4 checking accounts per enrolled business) . (Footnote 3)
  Excess Transactions (checks paid / other debits / deposited items)
    There will be no fee for the first 20 items per statement cycle, then 45¢ per item.
  • Keep in mind, there is no Excess Transaction Fee for debit card transactions, electronic debits, and checks deposited
    through Mobile Check Deposit, Bank of America ATMs, or Remote Deposit Online.
  Cash Deposit Processing Fee
  • There will be no fee for the first $5,000 in cash deposited per statement cycle at an ATM or Financial Center, then 30¢ per
    $ 100 deposited thereafter.
Please let us know if you have any questions about these changes and other fees that may apply to your account(s). or you can
review the Business Schedule of Fees at bankofamerica.com/ businessfeesataglance.

You may be able to reduce or eliminate some of these fees with other account options that may better fit your needs. For more
information visit bankofamerica.com/ paymentsolutions. If you would like to discuss these changes. you can stop by a financial
center, make an appointment at bankofamerica.com/ bizappointment. or give us a call at the number listed on this statement.

(Footnote 1) You may ask us to link Business Economy Checking, Business Interest Checking, Business Advantage Savings, Business
Investment Account. and Business CDs.
(Footnote 2) Use a linked Bank of America business debit card to make at least $500 in new net purchases each statement cycle and Bank of
America wil l wa ive the Monthly Fee on your Business Advantage Fundamentals Banking account. In addition to the primary business debit,
linked emp loyee business debit cards also count toward the monthly net purchases amount threshold .
The following transactions do not qualify: a) ATM transactions; b) refunds, returns or other adjustments; c) cash advances or purchases of
cash-like items, such as money orders. traveler's cheques, foreign currency, cashi er's checks, gam ing chips, and other simi lar instruments and
things of va lue; d) account funding transactions, including transfers to open or fund deposit, escrow or brokerage accounts and purchases of
stored value cards; e) pending (unpasted) transactions.
(Footnote 3) The Preferred Rewards for Business program is only available to Small Business, Merrill Small Business, and Bank of America
Private Bank® Small Business clients. Clients in the eligible business categories may enro ll in the program. To enro ll you must have an active,
eligible Bank of America business checking account, and maintain a qualifying balance of at least $20,000 for the Gold tier, $50,000 for the
Platinum tier, or $100,000 for the Platinum Honors tier in your combined qualifying Bank of America business accounts (such as check ing,
savings, certificate of deposit) and/ or your Merrill business investment accounts (such as Working Capital Management Accounts, Business
Investor Accounts, Delaware Business Accounts). The qualifying balance is ca lcu lated based on either (i) your average daily balance for a three
calendar month period, or (i i) your current combined balance, provided that you enro ll at the time you open your first eligibl e business
checking account and satisfy the balance requirement at the end of at least one day within thirty days of opening that account. Refer to your
Business Schedule of Fees for details on accounts that qualify towards the combined balance calculation and receive program benefits.
Eligibility to en roll is generally availab le three or more business days after the end of the ca lendar month in which you satisfy the
requirements. Benefits become effective with in 30 days of your enro llment, or for new accounts within 30 days of account open ing, unless we
indicate otherwise. Certain benefits may be avai lable without enrolling in the program if you sa tisfy balance and other requirements .




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8/6/24, 6:15 PM                                                                              about:b lank
            Case 24-11728-pmm                     Doc 140 Filed 09/10/24 Entered 09/10/24 11:48:42                                        Desc Main
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                                                             Philadelphia Page
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                                                                                   nt ics

                                                 1010 Bank of America - Operating #1 2296, Pe ri od Ending 07/31/2024

                                                                         RECONC ILIATION REPORT

                                                                          Reconci led on: 08/06/2024

                                                                       Reconci led by: Jamie Hiwe Yorio

  Any cha nges made to transactions after this date are n't included in this report.

  Summary                                                                                                                                                  USO




  Details

  Checks and payments clea red ( 14)

   DATE                              TYPE                              REF NO .                           PAYEE                                AMOUNT (USO)
  07/01 /2024                        Transfer                                                                                                       -4,000 .00
  07/01/2024                         Expense                                                                                                        -2,000 .00
  07/02/2024                         Expense                                                              PayWithBreeze                             -2,146.91
  07/03/2024                         Transfer                                                                                                      -18,000.00
  07/05/2024                         Transfer                                                                                                         -8,000 .00
  07/08/2024                         Transfer                                                                                                         -4,000.00
   07/08/2024                        Expense                                                              On line Business Suite Direct                  -10.00
   07/09/2024                        Transfer                                                                                                         -6 ,000 .00
   07/11/2024                        Transfer                                                                                                         -9,000 .00
   07/17/2024                        Expense                                                                                                       -20 ,000.00
   07/17/2024                        Expense                                                              CNA                                           -307.42
   07/19/2024                        Transfer                                                                                                         -9 ,000 .00
   07/24/2024                        Transfer                                                                                                         -8,000.00
   07/25/2024                        Transfer                                                                                                      -10 ,000 .00


   Tota l                                                                                                                                        -100,464.33


   Deposits and othe r credits clea red (58)

   DATE                              TYPE                               REF NO .                          PAYEE                                AMOUNT (USO)

   07/01 /2024                       Deposit                                                                                                             429.42
   07/01 /2024                       Deposit                                                                                                           1,624.00
   07/01 /2024                       Deposit                                                                                                             150.00
   07/01 /2024                       Deposit                                                                                                             201 .27
   07/01 /2024                       Deposit                                                                                                             306 .39
   07/02/2024                        Deposit                                                                                                           1,825.00
   07/02/2024                        Deposit                                                                                                             615.50
   07/02/2024                        Deposit                                                                                                               10.00
   07/03/2024                         Deposit                                                                                                          1,070 .00
   07/03/2024                         Deposit                                                                                                         20 ,242 .00
   07/05/2024                         Deposit                                                                                                            187.50
   07/05/2024                         Deposit                                                                                                          6,195.80
   07/08/2024                         Deposit                                                                                                            817 .00
   07/08/2024                         Deposit                                                                                                          2,308 .00
   07/08/2024                         Deposit                                                                                                          1,300.00
   07/08/2024                         Deposit                                                                                                          1,409.00
   07/09/2024                        Deposit                                                                                                             201.27
   07/09/2024                        Transfer                                                                                                          3,000 .00
   07/09/2024                        Deposit                                                                                                             322.05
   07/09/2024                         Deposit                                                                                                            150.00


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           Case 24-11728-pmm                    Doc 140 Filed 09/10/24 Entered 09/10/24 11:48:42   Desc Main
   DATE                             TYP E              Document
                                                           REF NO. Page 26 of PAYEE
                                                                               36                       AMO UNT (USD)
   07/09/2024                       Deposit                                                                      587.50
   07/09/2024                       Deposit                                                                      726 .50
   07/10/2024                       Deposit                                                                    3,799.28
   07/11/2024                       Deposit                                                                    2,855 .00
  07/11/2024                        Deposit                                                                      671 .00
  07/11 /2024                       Deposit                                                                      400.50
  07/12/2024                        Deposit                                                                      195.00
  07/12/2024                        Deposit                                                                      920.00
  07/12/2024                       Deposit                                                                       817.00
  07/12/2024                       Deposit                                                                       195.00
  07/12/2024                       Deposit                                                                        42.09
  07/15/2024                       Deposit                                                                       134.18
  07/15/2024                       Deposit                                                                     1,726.00
  07/ 15/2024                      Deposit                                                                       253.75
  07/16/2024                       Deposit                                                                       407.00
  07/17/2024                       Deposit                                                                   19,194.50
  07/18/2024                       Deposit                                                                     1,155.00
  07/18/2024                       Deposit                                                                       104.50
  07/18/2024                       Deposit                                                                     1,540 .00
  07/19/2024                       Deposit                                                                       356 .00
  07/19/2024                       Deposit                                                                       536 .75
  07/19/2024                       Deposit                                                                       714.00
  07/19/2024                       Deposit                                                                       910 .00
  07/19/2024                       Deposit                                                                        98 .00
  07/22/2024                       Deposit                                                                     1,098 .00
  07/22/2024                       Deposit                                                                       400.00
  07/22/2024                       Deposit                                                                       322.05
  07/22/2024                       Deposit                                                                       306.39
  07/23/2024                       Deposit                                                                     2,253 .00
  07/24/2024                       Deposit                                                                     5,170.00
  07/25/2024                       Deposit                                                                     4,470 .00
  07/25/2024                       Deposit                                                                     4,515 .00
  07/26/2024                       Deposit                                                                       250 .00
  07/26/2024                       Deposit                                                                     1,215.00
  07/29/2024                       Deposit                                                                     1,919 .00
  07/29/2024                       Deposit                                                                       247.80
  07/30/2024                       Deposit                                                                       166.00
  07/31 /2024                      Deposit                                                                     2,308.50

  Tota l                                                                                                  105 ,343.49


  Additional Information

   Uncleared checks and payments after 07/31 /2024

   DATE                             TYPE                    REF NO.            PAYEE                    AMOUNT (USO)
  08/01 /2024                      Transfer                                                                 -1 5,000 .00
  08/02/2024                        Expense                                    PayWithBreeze                   -2,195.53

  Tota l                                                                                                   -17,195.53


   Uncleared deposits and other credits after 07/31 /2024

   DATE                             TYP E                   REF NO.            PAYEE                    AMOUN T (USO)
  08/01 /2024                      Deposit                                                                     2,856.00
  08/01 /2024                      Deposit                                                                        62.50
  08/01 /2024                      Deposit                                                                     6,590.00
  08/01 /2024                      Deposit                                                                        78.50
  08/02/2024                       Deposit                                                                     1,672.00
  08/02/2024                       Deposit                                                                     1,463 .00
  08/02/2024                       Deposit                                                                     1,300.00

  Total                                                                                                    14, 022.00

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                                                                                                                           BANK OF AMERICA

BANK OF AMERICA q ~                                                                                                        Preferred Rewards
                                                                                                                           For Bu siness
P.O. Box 15284
Wilmington, DE 19850                                                                                                               Customer service information


                                                                                                                                   1.888.BUSINESS (1.888.287.4637)

                                                                                                                                   bankofamerica.com
  PHILADELPHIA ORTHODONTICS, PC
                                                                                                                                   Bank of Am erica, N.A.
  1420 WALNUT ST STE 518
                                                                                                                                   P.O. Box 25118
  PHILADELPHIA, PA 19102-4004
                                                                                                                                   Tampa , FL 33622-5118




                                                            ---------
      Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Fundamentals™ Banking
Preferred Rewards for Bus Gold
for July 1, 2024 to July 31 , 2024                                                                                         Account number-                                  2296
PHILADELPHIA ORTHODONTICS, PC

Account summary
Beginning balance on July 1, 2024                                                               $3,483.58             # of deposits/ credits: 58
Deposits and other credits                                                                    105,343.49              # of withdrawa ls/ debits: 14
Withdrawals and other debits                                                                 - 100,454.33             # of items-previous cyc le 1: O

Checks                                                                                                 -0.00          # of days in cyc le: 31

Service fees                                                                                         -10.00          Average ledger balance: $3,874.61

Ending balance on July 31, 2024                                                               $8,362.74 ./ ' Includes checks               paid, deposited items and other debits


                                                                                                          1/




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                                        • View your statements secure ly and easi ly-online or from our mobi le app-
                                          24/7 from virtually anywhere 1

                                        Simply use our Mobile Banking app or sign in to Online Banking at bankofamerica.com.


         When you use the QRC feature certain information is collected from your mobile device for business purposes.
     1
         Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices. Message and data rates may apply.   SSM-08-23-0773 a 1 5902255




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                                           I July 1, 2024Entered      09/10/24 11:48:42
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the te lephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Onl ine Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of t hese documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
co nditions of your account relationship may be obtained at our financia l centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawa ls,
po int-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
t his statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

        Te ll us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
        Tel l us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you wi ll
have use of the money during the time it wi ll take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less). we are not liable to you and you agree to
not make a claim against us. for the prob lems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as schedu led. You may also review your activity online
or visit a financial center for information.


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                                                                                                     Your checking account
BANK OF AMERICA~~
PHILADELPHIA ORTHODONTICS, PC         I Account#            2296   I July 1, 2024 to July 31, 2024




Deposits and other credits
Date              Description                                                                                                                           Amount
07 /01 / 24       PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                                1,624.00
                  ID: 7621843537 CCD

07 / 01 / 24      AETNA ASOl     DES:HCCLAIMPMT ID:l 770812869 INDN:PHI LADELPHIA ORTHODONT CO                                                          429.42
                  ID:1066033492 CCD PMT INFO:TRN * l *824178000236839*1066033492\

07 / 01 / 24      AETNA ASOl     DES:HCCLAIMPMT ID:1770812869 INDN:PHILADELPHIA ORTHODONT CO                                                            306.39
                  ID:1066033492 CCD PMT INFO:TRN*l *824178000236840*1066033492\

07 / 01 / 24      AETNA A04     DES:HCCLAIMPMT ID:l 770812869 INDN:PHILADELPHIA ORTHODONT CO                                                            201.27
                  ID:1066033492 CCD PMT INFO:TRN* l *824 178000236835*1066033492\

07 /01 / 24       AETNA A04      DES:HCCLAIMPMT ID:l 7708 12869 INDN PHILADELPHIA ORTHODONT CO                                                          150.00
                  ID: 1066033492 CCD PMT INFO:TRN * l *824178000236836*1066033492\

07 /02 / 24       PAYWITHBREEZE DES :PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                               1,825.00
                  ID:7621843537 CCD

07 /02 / 24       MET LIFE INS. CO DES:HCCLAIMPMT ID:l MLXXXXXXXXX INDNPHILADELPHIA ORTHODONT CO                                                        615.50
                  ID:905 180000 1 CCD PMT INFO TRN *l *000000044825699*1 l 35581829 -

07 /02 / 24       Prfd Rwds for Bus-Payroll Refund                                                                                                       10.00

07 /03 / 24       PAYWITHBREEZE DES:PHILADELPH ID:28 14 INDN:PHILADELPHIA ORTHODONT CO                                                             20,242.00
               ., ID:7 621843537 CCD

07/03 / 24        Aves is Third Par DES:Avesis Thi ID:4416 INDN:Joshua Davis, DMD MS      CO ID:1860349350 PPD                                       1,070.00

07 /05/ 24        PAYWITHBREEZE DES :PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                               6,195.80
                  ID:7621843537 CCD

07 /05/ 24        MET LIFE INS. CO DES:HCCLAIMPMT ID:l MLXXXXXXXXX INDN:PHILADELPHIA ORTHODONT CO                                                       187.50
                  ID:9051800002 CCD PMT INFO:TRN * l *000000044900274*1 l 3558 1829-

07 / 08 / 24      ZP UHCDGov5317 DES:HCCLAIMPMT ID: XXXXXXXXX INDN Philadelphia Orthodont CO                                                         2,308.00
                  ID:6452579291 CCD PMT INFO:TRN * l *XXXXXXXXX* l 810762694\

07 /08/ 24        PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN :P HILADELPHIA ORTHODONT CO                                                              1,409.00
                  ID:7621843537 CCD

07 /08/ 24        ZP UHCDGov5317 DES:HCCLAIMPMT ID :XXXXXXXXX INDN:Ph iladelphi a Orthodont CO                                                       1,300.00
                  ID:6452579291 CCD PMT INFO:TRN * l *XXXXXXXXX*l 810762694\

07 /08/ 24        AETNA ASOl     DES:HCCLAIMPMT ID:1770812869 INDN:PHILADELPHIA ORTHODONT CO                                                            817.00
                  ID:1066033492 CCD PMT INFO TRN *l *824184000306360*1066033492\
                                                                                                                                        continued on the next page




               We know you can bank anywhere~--                                                       BANKOFAMERICA,,..q         -:.-


                 Thank you for choosing us.

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Deposits and other credits - continued
Date            Description                                                                                                            Amount

07 / 09/ 24     Online Banking transfer from CHK 2306 Confirmation # 785 192 1284                                                  3,000.00

07 / 09/ 24     PAYWITHBREEZE DES:PHILADELPH ID:28 14 INDN:PHILADELPHIA ORTHODONT CO                                                  726.50
                ID:762 1843537 CCD

07 /09/ 24      MET LIFE INS. CO DES:HCCLA IM PMT ID:l MLXXXXXXXXX INDN:PHILADELPHIA ORTHODONT CO                                     587.50
                ID:9051800001 CCD PMT IN FO:TRN* l *000000044944662* 1135581829 -

07 /09/ 24      AETNA ASOl      DES :HCCLAIMPMT ID:l 7708 12869 INDN:PH ILADELPHIA ORTHODONT CO                                       322.05
                ID: 1066033492 CCD PMT INFO:TRN *l *824 l 8500027S560*1066033492\

07 /09/ 24      AETNA A04     DES:HCCLAIMPMT ID:1770812869 INDN:PH ILADELPHIA ORTHODONT CO                                            201 .27
                ID:1066033492 CCD PMT INFO:TRN * l *824 185000275559*1066033492\

07 /09/ 24      AETNA A04      DES:HCCLAIMPMT ID:l 7708 12869 INDN:PHILADELPH IA ORTHODONT CO                                         150.00
                ID: 1066033492 CCD PMT INFO:TRN * l *824 185000275561 *1066033492\

07/10/ 24       PAYWITHBREEZE DES:PH ILADELPH ID:2814 INDN:PH ILADELPHIA ORTHODONT CO                                              3,799.28
                ID:7621843537 CCD

07 / 11 / 24    Avesis Third Par DES :Avesis Thi ID:4416 IN DN:Joshua Davis, DMD MS   CO ID:1860349350 PPD                         2,855.00

07/11 / 24      PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN :PHILADELPHIA ORTHODONT CO                                                  671.00
                ID:7621843537 CCD

07 / l l / 24   MET LIFE INS. CO DES:HCCLA IM PMT ID:l MLXXXXXXXXX INDN PHILADELPHIA ORTHODONT CO                                     400.50
                ID:9051800001 CCD PMT INFO:TRN*l *000000045003763 *1 l 35581829-

07 / 12/ 24     PAYWITHBREEZE DES :PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                  920.00
                ID:7621843537 CCD

07 /12 / 24     AETNA ASOl     DES:HCCLAIMPMT ID 1770812869 INDN :PHILADELPHIA ORTHODONT CO                                           817.00
                ID:1066033492 CCD PMT INFO:TRN *l *824191000175293 *1066033492\

07 / 12/ 24     ZP UHCDGov53 l 7 DES:HCCLA IMPMT ID :XXXXXXXXX INDN:Phi ladelphia Orthodont CO                                        195.00
                ID:6452579291 CCD PMT IN FO:TRN * l *XXXXXXXXX* l 810762694\

07 /12 / 24     ZP UHCDGov5317 DES:HCCLAIMPMT ID:XXXXXXXXX IN DN :Philade lphia Orthodont CO                                           195.00
                ID:6452579291 CCD PMT INFO:TRN * l *XXXXXXXXX* l 810762694\

07 /12 /24      AETNA A04      DES:HCCLAIMPMT ID:177081 2869 INDN:PHILADELPHIA ORTHODONT CO                                              42 .09
                ID: 1066033492 CCD PMT INFO:TRN * l *824191000175296*1066033492\

07 /15/ 24      PAYW ITH BREEZE DES:PH ILADELP H ID:2814 INDN :PHILADELPHIA ORTHODONT CO                                           1,726.00
                ID:7621843537 CCD

07 / 15/ 24     AETNA ASOl     DES:HCCLAIMPMT ID:l 7708 12869 INDN :PHILADELPHIA ORTHODONT CO                                         253.75
                ID:1066033492 CCD PMT INFO:TRN *l *82419200032251 7* 1066033492\

07 / 15/ 24     AETNA A04     DES:HCCLA IMPMT ID:1770812869 INDN :PHILADELPH IA ORTHODONT CO                                           134.18
                ID:1066033492 CCD PMT INFO:TRN *l *824192000322518*1066033492\

07/16/ 24       PAYWITHBREEZE DES:PHILADELPH ID2814 INDN:PHILADELPHIA ORTHODONT CO                                                    407 .00
                ID: 7621843537 CCD

0 7/ 17/24      PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN:PHILADELPH IA ORTHODONT CO                                            19,194.50
                ID:7621843537 CCD

07/ 18/ 24      Avesi s Third Par DES:Avesis Thi ID:4416 IND N:Joshua Davis, DMD MS   CO ID:1860349350 PPD                         1,540.00

07 / 18/ 24     PAYWITHBREEZE DES:PH ILADELPH ID:28 14 INDN:PH ILADELPH IA ORTHODONT CO                                            1,155.00
                ID:762 1843537 CCD

07 / 18/ 24     MET LIFE INS. CO DES:HCCLA IMPMT ID: l MLXXXXXXXXX INDN:PHILADELPHIA ORTHODONT CO                                      104.50
                ID:9051800001 CCD PMT INFO:TRN *l *000000045142800*1135581829 -
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                                                                                                Your checking account
BANK OF AMERICA~~
PHILADELPHIA ORTHODONTICS, PC     I Account#           2296   I July 1, 2024 to July 31, 2024



Deposits and other credits - continued
Date          Description                                                                                                                  Amount
07/19/ 24     ZP UHCDGov5317 DES:HCCLAIMPMT ID:XXXXXXXXX INDN:Philadelphia Orthodont CO                                                    910.00
              ID:6452579291 CCD PMT IN FO:TRN*l *XXXXXXXXX*l 810762694\

07 / 19/ 24   PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                          714.00
              ID: 762184353 7 CCD

07/19/ 24     AETNA ASOl      DES:HCCLAIMPMT ID:l 770812869 INDN:PHILADELPHIA ORTHODONT CO                                                 536.75
              ID: 1066033492 CCD PMT INFO:TRN * l *824 198000247947*1066033492\

07/19 / 24    MET LIFE INS. CO DES :HCCLAIMPMT ID:l MLXXXXXXXXX INDN:PHILADELPHIA ORTHODONT CO                                             356.00
              ID:9051800007 CCD PMT INFO:TRN *l *000000045 170268* 1l35587829-

07/19 / 24    ZP UHCDGov531 7 DES:HCCLAIMPMT ID:XXXXXXXXX INDN Philadelphia Orthodont CO                                                     98.00
              ID:64S25 7929 1 CCD PMT INFO:TRN *l *XXXXXXXXX* l 810762694\

07 /22/24     PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                      1,098.00
              ID:762 784353 7 CCD

07 /22/24     AETNA A04     DES:HCCLAIMPMT ID:1 770812869 INDN :P HILADELPHIA ORTHODONT CO                                                 400.00
              ID:1066033492 CCD PMT INFO:TRN *l *824 199000282898*1066033492\

07 /22/24     AETNA ASOl      DES :HCCLAIMPMT ID:177087 2869 INDN :P HILADELPHIA ORTHODONT CO                                              322.05
              ID: 1066033492 CCD PMT INFO:TRN *l *82419900028289 7* 1066033492\

07/22 / 24    AETNA ASOl     DES :HCCLAIMPMT ID:l 770812869 INDN:PH ILADELPHIA ORTHODONT CO                                                306.39
              ID:1066033492 CCD PMT INFO :TRN *l *82 4199000282901 *1066033492\

07/23 / 24    PAYWITHBREEZE DES:PHILADELPH ID:287 4 INDN:PHILADELPHIA ORTHODONT CO                                                     2,253.00
              ID:7621843537 CCD

0 7/24/24     PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN:PHILADELPHIA ORTHODONT CO                                                      5,170.00
              ID:7627843537 CCD

07 /25/24     PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN PHILADELPHIA ORTHODONT CO                                                      4,Sl S.00
              ID:762 184353 7 CCD

07 /25/24     Avesis Third Par DES:Avesis Thi 10:4416 INON:Joshua Davis, DMD MS      CO ID:78603493 50 PPD                             4,470.00

07 /26/24     PAYWITHBREEZE DES PHILAOELPH 10:2814 INDN :PHILADELPHIA ORTHODONT CO                                                     7,21 S.00
              ID:762 1843537 CCD

07 /2 6/ 24   AETNA A04      DES:HCCLAIMPMT 10:1770812869 INON:PHILADELPHIA ORTHODONT CO                                                   250.00
              ID: 1066033492 CCD PMT INFO:TRN*l *824205000250391 *l 066033492\

07/29/ 24     PAYWITHBREEZE DES:PHILAOELPH ID:2814 INDN:PHILADELPHIA ORTHOOONT CO                                                      1,9 19.00
              ID:762 184353 7 CCD

07/29/ 24     MET LIFE INS. CO DES:HCCLAIMPMT ID:l MLXXXXXXXXX INON:PHILAOELPHIA ORTHODONT CO                                              247.80
              ID:9051800001 CCD PMT INFO:TRN * l *000000045347595* 1135581829 -

07 / 30/2 4   PAYWITHBREEZE DES:PHILAOELPH ID:2814 INDN:PHILADELPHIA ORTHOOONT CO                                                          166.00
              ID:762 1843537 CCD

07 /3 1/ 24   PAYWITHBREEZE DES:PHILADELPH ID:2814 INON:PHILADELPHIA ORTHOOONT CO                                                      2,308.50
              ID:7621843537 CCD

Total deposits and other credits                                                                                         $105,343.49




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Withdrawals and other debits
Date           Description                                                                                                                           Amount

07 /01 /24     Online Banking transfer to CHK 2306 Confirmation # 7382805880                                                                    -4,000.00

07 /01 /24     Online Banking transfer to CHK 2306 Confirmation # 7486547277                                                                    -2,000.00

07 /02 /24     PAYWITHBREEZE DES:PHILADELPH ID:2814 INDN :PH ILAD ELP HIA ORTHODONT CO                                                          -2,146.91
               ID:7621843537 CCD

07 /03 /24     Online Banking transfer to CHK 2306 Confirmation # 7899988455                                                                 -18,000.00

07 /05/24      Online Banking transfer to CHK 2306 Confirmation # 7717572018                                                                    -8,000.00

07 /08/24      Online Banking transfer to CHK 2306 Confirmation # 8026120506                                                                    -4,000.00

07 /09/24      Online Banking transfer to CHK 2306 Confirmation # 735 19257 18                                                                  -6,00000

07 / ll /24    Online Banking transfer to CHK 2306 Confirmation # 7669158222                                                                    -9,000.00

07/17 /24      Online Banking transfer to CHK 2306 Confirmation # 742D692221                                                                 -20,000.0D

07/17 /24      CNA      ACH DES :PREM-PYMT ID:3022162046 INDN:PHILADELPHIA ORTHODONT CO                                                             -307.42
               ID:9896553001 CCD

07/19/24       Online Banking transfer to CHK 2306 Confirmation # 7542990396                                                                    -9,000.00

07 /24/24      Online Banking transfer to CHK 2306 Confirmation # 8081559782                                                                    -8,000.00

07/25/24       Online Banking transfer to CHK 2306 Confirmation # 7989682963                                                                 -10,000.00

Total withdrawals and other debits                                                                                                 - $100,454.33



Service fees
   Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.
                                                                                                            -
                                               Total for this period                   Total year-to-date       We refunded to you a total of
                                                                           ----                                 $40.00 in fees for Overdraft
   Total Overdraft fees                               $0.00                                 $40.00              and/ or NSF: Returned Items
                                                                                                                this year.
   Total NSF: Returned Item fees                      $0.00                                  $0.00

   We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
        - Enroll in Balance Connect'" for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
        your payments and purchases by automatically transferring money from your linked backup accounts when needed.
        - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
   Please ca ll us or visit us if you have any questions or to discuss your options.
   (footnote 1) You may elect to receive alerts via text or ema il. Bank of America does not charge for this service but your mobile carrier's
   message and data rate s may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

The Monthly Fee on your primary Business Advantage Fundamentals Banking account was waived for the statement period endi ng 06/28/24.
A check mark below indicates the requ irement(s) you have met to qualify for the Monthly Fee waiver on the account.
         $250+ in new net purchases on a linked Business deb it card has been met

         $5,000+ combined average monthly balance in linked business accounts has been met

         Become a member of Preferred Rewards for Business has been met

For information on how to open a new product, link an existing service to your account, or about Preferred Rewa rds for Business please
call 1.888.BUSINESS or visit bankofamerica .com/smallbusiness .
                                                                                                                              continued on the next page




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                                                                                                          Your checking account
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Service fees - continued
Date           Transaction description                                                                                                             Amount

07/08/24       ONLINE BUSINESS SUITE DIRECT PMT SERVICES                                                                                            -10.00

Total service fees                                                                                                                           -$10.00
Note your Ending Balance already refl ects the subtraction of Service Fees.



Daily ledger balances
Date                                 Balance ($)       Date                                Balance($)      Date                             Balance ($)

07/01                                     194.66       07/ 12                              3,899.74        07/ 23                             6,101.44
07/02                                     498.25       07/ 15                              6,013.67        07/24                              3,271.44
07 /03                                   3,810.25      07/ 16                              6,420.67        07/25                              2,256.44
07/05                                    2,193.55      07/17                               5,307.75        07/26                              3,721.44
07/08                                    4,017 .55     07/18                               8,107.25        07/29                              5,888.24
07/09                                    3,004.87      07/ 19                               1,722.00       07/30                              6,054.24
07/ 10                                   6,804.15      07/22                               3,848.44        07/31                              8,362. 74
07/11                                    1,730.65




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 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes , reminders, and other important details that
 could impact you .


Beginning November 1, there will be changes to some of the fees and how you can avoid them for your Business
Advantage Fundamentals Banking account. Here is what you can expect.

• How to avoid the $16 Monthly Fee
  Meet ONE of the following requirements during each statement cycle:
  • Maintain a $5,000 combined average monthly balance in eligible linked business deposit accounts. (Footnote 1)
  OR
  • Use your Bank of America business debit card to make at least $500 in new net qualified purchases. (Footnote 2)
  OR
  • Be a member of Preferred Rewards for Business (first 4 checking accounts per enrolled business). (Footnote 3)
  Excess Transactions (checks paid/ other debits/ deposited items)
    There will be no fee for the first 20 items per statement cycle, then 45¢ per item.
  • Keep in mind, there is no Excess Transaction Fee for debit card transactions, electronic debits, and checks deposited
    through Mobile Check Deposit, Bank of America ATMs, or Remote Deposit Online.
  Cash Deposit Processing Fee
  • There will be no fee for the first $5,000 in cash deposited per statement cycle at an ATM or Financial Center, then 30¢ per
     $100 deposited thereafter.
Please let us know if you have any qu estions about these changes and other fees that may apply to your account(s), or you can
review the Business Schedule of Fees at bankofame rica.com/ businessfeesataglance.

You may be able to reduce or eliminate some of these fees with other account options that may better fit your needs. For more
information visit bankofamerica.com/ paymentsolutions. If you would like to discuss these changes, you can stop by a financial
center, make an appointment at bankofamerica.com/ bizappointment. or give us a call at the numb er listed on this statement.

(Foo tnote 1) You may ask us to link Business Economy Checking, Business Interest Checking, Business Advantage Savings, Business
Investment Account, and Business CDs.
(Footnote 2) Use a linked Bank of America business debit card to make at least $S00 in new net purchases each statement cycle and Bank of
America w ill waive the Monthly Fee on your Business Advantage Fundamenta ls Banking account. In addition to the primary business debit,
linked emp loyee business debit cards also count toward the monthly net purchases amount threshold.
The following transactions do not qualify: a) ATM transactions; b) refunds, returns or other adjustments; c) cash advances or purchases of
cash-like items, such as money orders, traveler's cheques, foreign currency, cashier's checks, gaming chips, and other similar instruments and
things of value; d) account funding transactions, including transfers to open or fund deposit, escrow or brokerage accounts and purchases of
stored value cards; e) pending (unpasted) transactions.
(Footnote 3) The Preferred Rewards for Business program is only avai labl e to Small Business. Merrill Sma ll Business, and Bank of America
Private Bank® Small Business clients. Clients in the eligible business categories may enro ll in the program. To enro ll you must have an active.
eligibl e Bank of America business checking account, and maintain a qualifying balance of at least $20,000 for the Gold ti er, $50,000 for the
Platinum tier, or $100,000 for the Platinum Honors tier in your combined qualifying Bank of America business accounts (such as checking,
savings, certificate of deposit) and/ or your Merrill business investment accounts (such as Working Capital Management Accounts, Business
Investor Accounts. Delaware Business Accounts). The qualifying balance is calculated based on either (i) your average daily balance for a three
calendar month period. or (ii) your current com bined balance. provided that you enrol l at the time you open your first eligible business
checking account and satisfy the balance requirement at the end of at least one day within thirty days of opening that account. Refer to your
Business Schedule of Fees for details on accounts that qualify towards the combined balance ca lculation and receive program benefits.
Eligibility to enro ll is genera lly available three or more business days after the end of the ca lendar month in which you satisfy the
requirements. Benefits become effective within 30 days of your enro llment, or for new accounts within 30 days of account opening, unless we
indicate otherwise. Certain benefits may be ava ilable without enrolling in the program if you satisfy balance and other requirements.

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